                    IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION

                                                     )
TRACEY K. KUEHL, et al.,
                                                     )
                                                         Case No. C14-02034-JSS
                                                     )
                       Plaintiffs,
                                                     )
        v.
                                                     )   PLAINTIFFS’ MOTION FOR
                                                     )   SUMMARY JUDGMENT
PAMELA SELLNER, et al.,
                                                     )
                                                     )   Judge: Hon. Jon Stuart Scoles
                       Defendants.
                                                     )   Trial Date: October 5-9, 2015
                                                     )
                                                     )   Oral Argument Requested
                                                     )

               PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
       Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 56.1, Plaintiffs Tracey K.

Kuehl, Lisa K. Kuehl, Kristine A. Bell, Nancy A. Harvey, John T. Braumann, and the Animal

Legal Defense Fund, by and through their attorneys Daniel J. Anderson, Jessica L. Blome, and

Jeff Pierce, hereby move for Summary Judgment that:

      1.       Pamela Sellner, Tom Sellner, and the Cricket Hollow Zoo, Inc. violated and

continue to violate the Endangered Species Act, 16 U.S.C. § 1538(9)(B), by unlawfully taking

the following federally listed threatened or endangered species under 50 CFR § 17.11(h): Tigers,

Lions, Gray Wolves or intra-species hybrid Wolves, and Lemurs at the Cricket Hollow Zoo.
      2.       Pamela Sellner, Tom Sellner, and the Cricket Hollow Zoo, Inc. violated and

continue to violate the Endangered Species Act, 16 U.S.C. § 1538(a)(1)(E), by acquiring or

disposing of federally listed endangered species, including Tigers, Lions, Lemurs, and Gray

Wolves, in interstate or foreign commerce and in the course of a commercial activity at the

Cricket Hollow Zoo.




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       This motion is based on the pleadings and other papers filed in this case; the attached

memorandum, statement of uncontroverted material facts, exhibits, and declarations filed with

this motion; and such other matters as may be presented to the Court.

Dated: June 1, 2015                          Respectfully submitted,


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